Case 9:09-cv-80507-KAM Document 28 Entered on FLSD Docket 06/22/2009 Page 1 of 12




                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION


  THE UNITED STATES OF AMERICA

         Plaintiff,

  v.                                               CASE NO.: 09-80507-CIV-MARRA

  TOWN OF LAKE PARK, FLORIDA, and
  COMMISSIONERS PATRICIA PLASKET-
  OSTERMAN, JEFF CAREY, ED DALY, and
  KENDALL RUMSEY, in their official
  capacity as members of the Lake Park
  Town Commission, and DESCA DUBOIS,
  in her official capacity as Mayor of Lake
  Park,

         Defendants.

  ________________________________/

              DEFENDANTS’ MOTION TO DISMISS AMENDED COMPLAINT

         COMES NOW the Defendants, the Town of Lake Park, the Town of Lake Park

  Commissioners Patricia Plasket-Osterman, Kendall Rumsey, Jeff Carey and Ed Daly, in

  their official capacities, and the Mayor of the Town of Lake Park, Desca Dubois, in her

  official capacity, pursuant to Rules 12 and 17 of the Federal Rules of Civil Procedure

  and Rule 7.01 of the Rules of the United States District Court for the Southern District of

  Florida, by and through counsel, and files this Motion to Dismiss Plaintiff’s Amended

  Complaint and states as follows:

         1.      Plaintiff has brought suit against the Town of Lake Park, Florida; the Town

  of Lake Park Commissioners Patricia Plasket-Osterman, Kendall Rumsey, Jeff Carey

  and Ed Daly, in their official capacities (hereinafter “Commissioners”); and the Town of


                                               1
                                   ALLEN, NORTON & BLUE, P.A.
Case 9:09-cv-80507-KAM Document 28 Entered on FLSD Docket 06/22/2009 Page 2 of 12




  Lake Park Mayor, Desca Dubois, in her official capacity (hereinafter “Mayor”), pursuant

  to Sections 2 and 12(d) of the Voting Rights Act of 1965, as amended, 42 U.S.C. §1973,

  and 42 U.S.C. §1973j(d).

            2.    In the law, a cause of action is a set of facts sufficient to justify a right to

  sue.

            3.    Defendants maintain that Plaintiff’s Amended Complaint fails to state a

  cause of action. 1

            4.    Rather, the Plaintiff should be required to rely on the 2010 United States

  Census in stating a cause of action and appropriate relief, if any.

            5.    This action should be dismissed without prejudice, or stayed, until the

  results of the 2010 U.S. Census are available. Accordingly, this action, if nothing else,

  is premature.

            6.    Defendant Commissioners and Mayor are neither necessary nor

  indispensable parties in that Defendant Town of Lake Park is a proper party to this

  action.

            7.    In that the Plaintiff may sue the Town of Lake Park directly, there is no

  basis for the Commissioners and/or the Mayor, in their official capacities, to be named

  Defendants in this matter.

            8.    Additionally, should Plaintiff be successful in this suit and the Town of

  Lake Park’s election methods are found to dilute the voting strength of its black citizens,

  Defendant Commissioners and Defendant Mayor, in their official capacities, lack the



  1
   In the Amended Complaint Plaintiff alleges in Paragraph 5 that “the Town has a total population of 8,721
  of whom 4,256 (48%) are black. The percentage of black citizens who are of voting age is thirty-eight
  percent. White voting age citizens comprise a fifty-three percent majority.”
                                                       2
                                        ALLEN, NORTON & BLUE, P.A.
Case 9:09-cv-80507-KAM Document 28 Entered on FLSD Docket 06/22/2009 Page 3 of 12




  authority to alter the terms of office and the manner of election of the Town Commission

  members and the Mayor.

         9.     Neither the Mayor, nor any of the Commissioners, can act unilaterally to

  alter the terms of office or manner of election of their respective offices. Although the

  Mayor and Commissioners acting collectively through the Town Commissioner exercise

  broad “home rule” authority, the Town Charter does not reserve the power to alter the

  terms of office or the manner of the election of Commissioners to the Town

  Commission, which is the relief sought by Plaintiff. Pursuant to Section 166.031(1),

  Florida Statutes, the Mayor and Commissioners, acting collectively (and by majority

  vote) may only enact an ordinance which proposes to place a proposed amendment to

  the Lake Park Charter regarding their terms of office and manner of election on a ballot

  for a vote of the electors of the Town of Lake Park..

         10.    Indeed, §166.021(4) Florida Statutes specifically prohibits the alteration of

  amendment “the terms of elected officers and the manner of their election (except for

  the selection of election dates and qualifying periods for candidates and for changes in

  terms of office necessitated by such changes in election dates”) and “any change in the

  form of government” by a legislative action (a majority vote of the five members) of the

  Commission. See §161.021(4), Fla.Stat.(2007).

         11.    Accordingly, to alter “the terms of elected officers and the manner of their

  election” in the Town of Lake Park, the amendments must be approved by a voter

  referendum. §166.031, Fla.Stat.(2007).

         12.    Lacking the authority to alter the terms of elected officials and the manner

  of their election, and given that the Town of Lake Park can act only collectively by and


                                               3
                                   ALLEN, NORTON & BLUE, P.A.
Case 9:09-cv-80507-KAM Document 28 Entered on FLSD Docket 06/22/2009 Page 4 of 12




  through its Commission which       may be and has been sued directly, the Complaint

  should be dismissed with prejudice as to the Commissioners and Mayor in their

  respective official capacities.

         WHEREFORE, Defendants the Town of Lake Park, Patricia Plasket-Osterman,

  Kendall Rumsey, Jeff Carey and Ed Daly, in their official capacities as Commissioners

  of the Town of Lake Park, and Desca Dubois, in her official capacity as Mayor of the

  Town of Lake Park, respectfully request this Court enter an Order dismissing the

  Amended Complaint for failure to state a cause of action. Further, Defendants Patricia

  Plasket-Osterman, Kendall Rumsey, Jeff Carey and Ed Daly, in their official capacities

  as Commissioners of the Town of Lake Park, and Desca Dubois, in her official capacity

  as Mayor of the Town of Lake Park, respectfully request this Court dismiss the

  Amended Complaint as to each of them with prejudice.

                                    MEMORANDUM OF LAW

  A.     MOTION TO DISMISS STANDARD

         A motion to dismiss is a motion attacking the legal sufficiency of a complaint.

  Accepting the facts pled in the complaint as true, the court construes those facts in the

  light most favorable to the plaintiff. Simmons v. Sonyika, 394 F.3d 1335, 1338 (11th Cir.

  2004). “Within the context of a Rule 12(b)(6) motion, as there is no record beyond the

  complaint, the well-pleaded factual allegations in the plaintiff’s complaint are the focus

  of the determination.” Epps v. Watson, 492 F.3d 1240, 1243 (11th Cir. 2007) citing

  Dalrymple v. Reno, 334 F.2d 991, 994-995 (11th Cir. 2003). As argued below, the

  Amended Complaint fails to state a cause of action in that the factual allegations are




                                                4
                                    ALLEN, NORTON & BLUE, P.A.
Case 9:09-cv-80507-KAM Document 28 Entered on FLSD Docket 06/22/2009 Page 5 of 12




  untimely and the Defendant Commissioners and Mayor in their official capacities are

  unnecessary parties.

  B.     FAILURE TO STATE A CAUSE OF ACTION

         Plaintiff, the United States of America, filed suit against the Defendants for the

  Town of Lake Park’s alleged violation of §2 of the Voting Rights Act of 1965, as

  amended. In the Amended Complaint the Plaintiff alleges the Town of Lake Park’s at-

  large method of electing Commissioners dilutes the voting strength of its black citizens.

  Plaintiff seeks to establish the alleged violation through statistical data. Specifically,

  Plaintiff employs the 2000 U.S. Census demographics to establish a prima facie case

  against the Defendants.

         To prove the Town of Lake Park’s election method violates §2 of the Voting

  Rights Act, Plaintiff must establish three conditions:

         First, the minority group must be able to demonstrate that it is sufficiently large
         and geographically compact to constitute a majority in a single-member
         district…Second, the minority group must be able to show that it is politically
         cohesive…Third, the minority group must be able to demonstrate that the white
         majority votes sufficiently as a bloc to enable it…usually to defeat the minority’s
         preferred candidate.

  Thornburg v.Gingles, 478 U.S. 30, 50-51 (1986). In establishing the first condition of

  Gingles, Plaintiff relies on the U.S. Census data to show both that the minority

  population of the particular municipality is sufficiently large. Further, the U.S. Census

  data is employed to show that the minority population is geographically compact to

  constitute a majority in a single member district. In this matter, the Plaintiff’s Amended

  Complaint solely relies on the data within the 2000 U.S. Census to establish the first

  prong of Gingles. Should this Court find in favor of the Plaintiff, or should the parties

  agree to a consent decree, the new election method will be based on factual assertions

                                                5
                                    ALLEN, NORTON & BLUE, P.A.
Case 9:09-cv-80507-KAM Document 28 Entered on FLSD Docket 06/22/2009 Page 6 of 12




  which are 10 tens old. It is likely that the Court’s Order would require that the Town of

  Lake Park would be compelled to amend the election methods immediately after the

  release of the 2010 Census and hold another election. Thus, the Town of Lake Park

  would incur the expenses of two elections and a referendum within two years.

  Moreover, the voters of the Town of Lake Park who voted in the first Election for

  candidates for the four single member districts would become disenfranchised if the

  Commission Districts must be again re-drawn to reflect the changes in the geographic

  distribution of the minority population and/or the percentage of voting age population.

         Defendants anticipate Plaintiff will argue that the data relied on is current, and

  that the remedy, if awarded, will be fashioned to alleviate the historical problem of

  dilution of voting strength for black citizens of the Town of Lake Park. For the reasons

  stated above, this argument is short-sighted. The ultimate goal of the Voting Rights Act

  of 1965, and the Civil Rights Acts in general, is to alleviate disparity based on color or

  race. The best course of action to alleviate disparity would be to fashion a remedy

  pursuant to accurate and timely factual allegations. Awaiting the results of the 2010

  U.S. Census would permit the Court, or the parties, to craft a solution to not only

  remedy any historical disparity but any current disparity.

         Where there has been unlawful discrimination, a district court has not only the
         power but the responsibility to fashion a remedy that will as much as possible
         eliminate the discriminatory effects of past discrimination as well as bar like
         discrimination in the future.

  Paradise v. Prescott, 585 F.Supp.72, 75 (M.D. Ala. 1983) affirmed 767 F.2d 1514 (11th

  Cir. 1985), citing Albemarle Paper Co. v. Moody, 422 U.S. 405, 418 (1972). As such,

  the Defendants respectfully request this Court enter an order dismissing the Amended



                                               6
                                   ALLEN, NORTON & BLUE, P.A.
Case 9:09-cv-80507-KAM Document 28 Entered on FLSD Docket 06/22/2009 Page 7 of 12




  Complaint without prejudice, or stay this proceeding, until the publication of the 2010

  U.S. Census data.

  C.      DISMISS THE INDIVIDUAL NAMED COMMISSIONERS AND MAYOR

          Plaintiff brings suit against the Town of Lake Park, the individual Commissioners

  of the Town of Lake Park, and the Mayor of the Town of Lake Park in their respective

  official capacities. The naming of the individual Commissions and Mayor as separate

  Defendants is both unnecessary and duplicative given the relief sought by the United

  States. Neither the Commissioners nor the Mayor are indispensable parties to this

  action because the remedy sought by the United States can be achieved and will only

  be achieved if the Town acting through its representative body, the Town Commission,

  takes action. The individual Commissioners and Mayor have no legal authority to enter

  into a Consent Decree.         This can only be achieved through a majority vote of the Town

  Commission. Moreover, should the Plaintiff ultimately prevail and this Court mandate

  that the terms of office and/or the manner of electing Commissioners be ordered to be

  altered, the Commissioners cannot, each acting individually comply; rather the actions

  necessary to carry out this Court’s Order could only be carried out by the Town

  Commission taking action to adopt the necessary Ordinances to amend the Town’s

  Charter.. Accordingly, the Town of Lake Park is the only proper Defendant in that it

  alone, as the Legislative entity with the legal authority to change the Town of Lake

  Park’s Charter, has the authority under the Florida Constitution and statutes to ensure

  the implementation of the relief sought should Plaintiff prevail. 2


  2
   Defendants would like to submit for the Court United States v. City of Euclid, et.al., a 2006 case from the
  U.S. District Court, Northern District of Ohio, Eastern Division, Case No.1:06-cv-01652. In this case the
  original Complaint named the City of Euclid, the County Board of Elections and the City Council members
  as Defendants. The Council moved to dismiss themselves as Defendants on the theory of sui juris.
                                                         7
                                            ALLEN, NORTON & BLUE, P.A.
Case 9:09-cv-80507-KAM Document 28 Entered on FLSD Docket 06/22/2009 Page 8 of 12




          Section 1983 cases are instructive in this regard. In §1983 cases countless

  federal courts have held that suing an individual officer is not necessary because either

  a county or municipality may be sued directly. The rationale being

         Because suits against a municipal officer sued in his official capacity and direct
         suits against municipalities are functionally equivalent, there no longer exists a
         need to bring official-capacity actions against local government officials, because
         local government units can be sued directly (provided, of course, that the public
         entity received notice and an opportunity to respond.

  Busby v. City of Orlando, 931 F.2d 764, 776 (11th Cir. 1991).                    Here Defendants

  acknowledge this matter is not a §1983 case, but the rationale used in §1983 cases

  equally applies to §2 Voting Rights cases, i.e. a suit against the Town of Lake Park is

  the functional equivalent of a suit against the individual Mayor and Commissioners in

  their official capacities. Thus, naming the Town of Lake Park and the individual Mayor

  and Commissioners is duplicative.

         Further illustrative that the individual Commissioners and Mayor are unnecessary

  is the fact the Commissioners and Mayor did not create the at-large method of election

  as currently employed by the Town of Lake Park. No affirmative action by any of the

  individually named Defendants created or fostered the alleged violation. Rather, the

  method of election for the Town of Lake Park Commission was established prior to any

  of the individual Defendants taking their office. The individual Defendants have been

  named merely because they currently hold the positions of Commissioner or Mayor. As

  aptly stated by the Middle District of Alabama in a combined §1983 and §2 Voting

  Rights action, “[t]o retain this suit as against Mayor [Dubois] and the [Commissioner]

  Defendants in their official capacity and also as one against the [Town of Lake Park]


  Although unpublished, the Court dismissed the Council as Defendants. Please see Exhibit A, paragraph
  15.
                                                    8
                                        ALLEN, NORTON & BLUE, P.A.
Case 9:09-cv-80507-KAM Document 28 Entered on FLSD Docket 06/22/2009 Page 9 of 12




  would be redundant…” Holley v. City of Roanoke, Alabama, 162 F.Supp.2d 1335, 1341-

  1342 (M.D. Ala. 2001).

         In addition to redundancy, Defendant Commissioners and Defendant Mayor are

  unnecessary parties to this suit because they individually lack the legal authority to alter

  the method of election of the Town of Lake Park Commission or Mayor. The Town

  Charter does not reserve the power to alter the terms of elected officers or the manner

  of their election. Consequently, pursuant to §166.021(4) Florida Statutes, amendment

  to the Town Charter as to the terms of elected officers and/or the manner of their

  election shall be made by voter referendum. §166.021(4), Fla. Stat.(2007). The Mayor

  and Commissioners only role in this regard is to enact an Ordinance (by majority vote)

  which places a ballot question before the electors for referendum.

         Chapter 116, Florida Statutes, articulates the powers reserved to municipal

  governments:

         the governmental, corporate, and proprietary powers to enable them to conduct
         municipal government, perform municipal functions, and render municipal
         services, and may exercise any power for municipal purposes, except when
         expressly prohibited by law.

  §166.021(a), Fla.Stat.(2007). The Commissioners and Mayor are not proper Defendants

  to this cause of action because §166.021(4), Florida Statutes, expressly prohibits the

  Mayor and Commissioners from changing their respective terms and the manner in

  which they are elected (single member versus at large).

         [N]othing in this act shall be construed to permit any changes in a special law or
         municipal charter…which affect…the terms of elected officers and the manner of
         their election except for the selection of election dates and qualifying period for
         candidates and for changes in terms of office necessitated by such changes in
         election dates, the distribution of powers among elected officers, matters
         prescribed by the charter relating to appointive boards, any change in the form of


                                               9
                                   ALLEN, NORTON & BLUE, P.A.
Case 9:09-cv-80507-KAM Document 28 Entered on FLSD Docket 06/22/2009 Page 10 of 12




         government, or any rights of municipal employees, without approval by
         referendum of the electors as provided in s. 166.031.

   §166.021(4), Fla.Stat.(2007).

         The Florida Attorney General addressed the issue of whether a voter referendum

   was required to alter the term of office from two to three years for a city councilman in

   the City of Punta Gorda, Florida.     The Florida Attorney General concluded that such a

   change would require a voter referendum See Op.Att’y.Gen.Fla. 01-81(2001). (“Section

   166.031, Florida Statutes, sets forth the procedures to be observed in amending

   municipal charters, including a requirement that a proposed amendment shall be

   subject to approval by referendum of the voters.” Op. Att’y.Gen.Fla. 01-81(2001).) See

   also §166.031, Fla.Stat.(2007).

         Similarly, the Florida Attorney General addressed whether “the City Commission

   of Ormond Beach [could] amend the city charter by ordinance with respect to the term

   of the deputy mayor when that officer is elected by the other members of the

   commission?” Again, the Florida Attorney General opined the proposed amendment

   “must be the subject of approval by referendum.” Op.Att’y.Gen.Fla.90-11(1990).

         If the Plaintiff ultimately prevails, the Defendants would not oppose an Order from

   the Court relieving the Town of Lake Park and the Palm Beach County Supervisor of

   Elections from conducting a referendum. However, the point is that the Defendant

   Commissioners and Defendant Mayor may not legally alter or amend the Town’s

   Charter or enact legislation concerning their terms or the manner of their election. The

   individual Commissioners and Mayor in their official capacities therefore are

   unnecessary parties to this action.



                                                10
                                     ALLEN, NORTON & BLUE, P.A.
Case 9:09-cv-80507-KAM Document 28 Entered on FLSD Docket 06/22/2009 Page 11 of 12




           Commissioners and Mayors may come and go, but any judgment or consent

   decree which may result from this suit will remain applicable to the Town Commission

   as collective entity responsible for the Town’s governance. The judgment or consent

   decree will not be applicable to, nor will it be carried out by individual Commissioners. 3

   The Town of Lake Park (which can only act through its Town Commission) is the proper

   Defendant, not the individual Commissioners or the Mayor in their official capacities.

          Respectfully submitted this 22nd day of June, 2009.

                                                  By: s/Michael K. Grogan

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                                                  Attorneys for Defendants




   3
    This is evidenced in that the Complaint named G. Chuck Balius, in his official capacity as Commissioner
   of the Town of Lake Park, as a Defendant. G. Chuck Balius is no longer in office and Plaintiff has
   substituted Commissioner Rumsey for former Commissioner Balius as a named Defendant in the
   Amended Complaint.
                                                     11
                                         ALLEN, NORTON & BLUE, P.A.
Case 9:09-cv-80507-KAM Document 28 Entered on FLSD Docket 06/22/2009 Page 12 of 12




                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that Defendant, Town of Lake Park’s Answer and

   Affirmative Defenses has been filed electronically with the Clerk of the United States

   District Court, Southern District of Florida, West Palm Beach Division, using the

   CM/ECF system which I understand will send a notice of electronic filing, on this 22nd

   day of June, 2009, to the following:


         J. Christian Adams
         Veronica S. Jung
         Ernest A. McFarland
         Civil Rights Division
         U.S. Department of Justice
         Room 7245-NWB
         950 Pennsylvania Avenue
         Washington, D.C. 20530
         Telephone No.: (202) 616-4227
         Facsimile No.: (202) 307-3961


                                                    s/ Michael K. Grogan
                                                        Attorney




                                               12
                                    ALLEN, NORTON & BLUE, P.A.
